

Matter of Maiocchi (2021 NY Slip Op 04604)





Matter of Maiocchi


2021 NY Slip Op 04604


Decided on August 4, 2021


Appellate Division, Second Department


Per Curiam.



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on August 4, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

HECTOR D. LASALLE, P.J.
WILLIAM F. MASTRO
REINALDO E. RIVERA
MARK C. DILLON
CHERYL E. CHAMBERS, JJ.


2021-01541

[*1]In the Matter of Anthony J. Maiocchi, admitted as Anthony John Maiocchi, an attorney and counselor-at-law, respondent. (Attorney Registration No. 1438803)



APPLICATION pursuant to 22 NYCRR 1240.10 by Anthony J. Maiocchi, who was admitted to the Bar at a term of the Appellate Division of the Supreme Court in the Second Judicial Department on March 28, 1979, under the name Anthony John Maiocchi, to resign as an attorney and counselor-at-law.



Gary L. Casella, White Plains, NY (Antonia Cipollone of counsel), for Grievance Committee for the Ninth Judicial District.
Longo &amp; D'Apice, Brooklyn, NY (Mark A. Longo of counsel), for respondent.



PER CURIAM.


OPINION &amp; ORDER
The respondent, Anthony J. Maiocchi, admitted as Anthony John Maiocchi, has submitted an affidavit sworn to on September 2, 2020, in support of his application to resign as an attorney and counselor-at-law (see  22 NYCRR 1240.10). The respondent acknowledges in his affidavit that he is currently the subject of an investigation by the Grievance Committee for the Ninth Judicial District into his professional misconduct, and that the allegations include his failure to safeguard funds entrusted to him, resulting in the invasion of client funds. The respondent avers that he cannot successfully defend himself against the allegations of his professional misconduct described above.
The respondent also avers that his resignation is freely and voluntarily tendered, that he is not being subjected to coercion or duress by anyone, and that he is fully aware of the implications of submitting his resignation, including that the Court's acceptance and approval shall result in the entry of an order of disbarment striking his name from the roll of attorneys and counselors-at-law.
As to the issue of restitution, the respondent acknowledges that the resignation is submitted subject to any future application that may be made by the Grievance Committee for an order, pursuant to Judiciary Law § 90(6-a), directing that he make restitution or reimburse the Lawyers' Fund for Client Protection, and he consents to the Court's continuing jurisdiction to make such an order.
The respondent also acknowledges and agrees that pending the issuance of an order accepting his resignation, he will not undertake to represent any new clients or accept any retainers for future legal services to be rendered, and that there will be no transactional activity in any fiduciary account to which he has access, other than for payment of funds held therein on behalf of clients or others entitled to receive them.
Lastly, the respondent acknowledges that in the event the Court accepts his [*2]resignation, the order resulting therefrom and the records and documents filed in relation to the aforementioned allegations, including his affidavit, shall be deemed public records pursuant to Judiciary Law § 90(10).
The Grievance Committee recommends that the Court grant the respondent's application to resign.
Inasmuch as the respondent's application to resign complies with the requirements of 22 NYCRR 1240.10, the application is granted, and effective immediately, the respondent is disbarred, and his name is stricken from the roll of attorneys and counselors-at-law.
LASALLE, P.J., MASTRO, RIVERA, DILLON and CHAMBERS, JJ., concur.
ORDERED that the application of the respondent, Anthony J. Maiocchi, admitted as Anthony John Maiocchi, to resign as an attorney and counselor-at-law is granted; and it is further,
ORDERED that pursuant to Judiciary Law § 90, effective immediately, the respondent, Anthony J. Maiocchi, admitted as Anthony John Maiocchi, is disbarred, and his name is stricken from the roll of attorneys and counselors-at-law; and it is further,
ORDERED that the respondent, Anthony J. Maiocchi, admitted as Anthony John Maiocchi, shall comply with the rules governing the conduct of disbarred or suspended attorneys (see  22 NYCRR 1240.15); and it is further,
ORDERED that pursuant to Judiciary Law § 90, effective immediately, the respondent, Anthony J. Maiocchi, admitted as Anthony John Maiocchi, shall desist and refrain from (1) practicing law in any form, either as principal or as agent, clerk, or employee of another, (2) appearing as an attorney or counselor-at-law before any court, Judge, Justice, board, commission, or other public authority, (3) giving to another an opinion as to the law or its application or any advice in relation thereto, and (4) holding himself out in any way as an attorney and counselor-at-law; and it is further,
ORDERED that if the respondent, Anthony J. Maiocchi, admitted as Anthony John Maiocchi, has been issued a secure pass by the Office of Court Administration, it shall be returned forthwith to the issuing agency, and he shall certify to the same in his affidavit of compliance pursuant to 22 NYCRR 1240.15(f).
ENTER:
Aprilanne Agostino
Clerk of the Court








